              20-50805-rbk Doc#46 Filed 06/05/20 Entered 06/05/20 08:08:33 Main Document Pg 1 of
                                                      29

 Fill in this information to identify the case:

                      KRISJENN RANCH, LLC, KRISJENN RANCH, LLC, Series
 Debtor name          Uvalde Ranch, KRISJENN RANCH, LLC, Series Pipeline Row

 United States Bankruptcy Court for the:
                       Western District of Texas, San Antonio Division

 Case number (if known):                 20-50805                                                                                           ✔ Check if this is an
                                                                                                                                            ❑
                                                                                                                                               amended filing

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                                         12/15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this form for the
schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any amendments of those documents.
This form must state the individual’s position or relationship to the debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with a
bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



           Declaration and signature

         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another individual serving as a
         representative of the debtor in this case.
         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

         ✔
         ❑      Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

         ❑      Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         ❑      Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         ❑      Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         ❑      Schedule H: Codebtors (Official Form 206H)

         ❑      A Summary of Assets and Liabilities for Non-Individuals (Official Form 206A-Summary)

         ✔
         ❑      Amended Schedule

         ❑      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

         ❑      Other document that requires a declaration




         I declare under penalty of perjury that the foregoing is true and correct.



         Executed on 06/04/2020
                          MM/ DD/ YYYY
                                                                                ✘ /s/ Larry Wright
                                                                                      Signature of individual signing on behalf of debtor


                                                                                      Larry Wright
                                                                                      Printed name


                                                                                       Manager
                                                                                      Position or relationship to debtor



Official Form B202                                     Declaration Under Penalty of Perjury for Non-Individual Debtors
              20-50805-rbk Doc#46 Filed 06/05/20 Entered 06/05/20 08:08:33 Main Document Pg 2 of
                                                      29
 Fill in this information to identify the case:

                      KRISJENN RANCH, LLC, KRISJENN RANCH, LLC, Series
 Debtor name          Uvalde Ranch, KRISJENN RANCH, LLC, Series Pipeline Row

 United States Bankruptcy Court for the:
                       Western District of Texas, San Antonio Division

 Case number (if known):                 20-50805                                                                                         ✔ Check if this is an
                                                                                                                                          ❑
                                                                                                                                             amended filing

Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property                                                                                                                       12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include all property in which
the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have no book value, such as fully depreciated
assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired leases. Also list them on Schedule G: Executory Contracts and
Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the debtor’s name and
case number (if known). Also identify the form and line number to which the additional information applies. If an additional sheet is attached, include the amounts
from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset schedule or depreciation
schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the debtor’s interest, do not deduct the value of secured
claims. See the instructions to understand the terms used in this form.


 Part 1: Cash and cash equivalents


  1.   Does the debtor have any cash or cash equivalents?
       ❑No. Go to Part 2.
       ✔Yes. Fill in the information below.
       ❑
       All cash or cash equivalents owned or controlled by the debtor                                                                         Current value of debtor's
                                                                                                                                              interest

  2.   Cash on hand

  3.   Checking, savings, money market, or financial brokerage accounts (Identify all)
       Name of institution (bank or brokerage firm)                Type of account                      Last 4 digits of account number
       3.1 First State Bank of Uvalde                                    Checking account                           9308                                       $4,330.95

  4.   Other cash equivalents (Identify all)
       None

  5.   Total of Part 1
                                                                                                                                                                  $4,330.95
       Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



 Part 2: Deposits and prepayments


  6.   Does the debtor have any deposits or prepayments?
       ✔ No. Go to Part 3.
       ❑
       ❑Yes. Fill in the information below.
                                                                                                                                              Current value of debtor's
                                                                                                                                              interest
  7.   Deposits, including security deposits and utility deposits
       Description, including name of holder of deposit
       None




Official Form 206A/B                                           Schedule A/B: Assets — Real and Personal Property                                              page 1
                20-50805-rbk Doc#46 Filed 06/05/20 Entered 06/05/20 08:08:33 Main Document Pg 3 of
                                                        29
Debtor         KRISJENN RANCH, LLC, KRISJENN RANCH, LLC, Series Uvalde Ranch,                                           Case number (if known)            20-50805
               KRISJENN RANCH, LLC, Series Pipeline Row
              Name


  8.     Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
         Description, including name of holder of prepayment

         None


  9.     Total of Part 2
         Add lines 7 through 8 (including amounts on any additional sheets). Copy the total to line 81.



 Part 3: Accounts receivable


  10.     Does the debtor have any accounts receivable?
          ❑No. Go to Part 4.
          ✔Yes. Fill in the information below.
          ❑

                                                                                                                                                 Current value of debtor's
                                                                                                                                                 interest

  11.    Accounts Receivable

         11a. 90 days old or less:                    $0.00                  -                     $0.00                  = ...... ➔                                 $0.00
                                       face amount                                 doubtful or uncollectible accounts


         11b. Over 90 days old:                  $125,000.00                 -                     $0.00                  = ...... ➔                                 $0.00
                                       face amount                                 doubtful or uncollectible accounts


  12.    Total of Part 3
                                                                                                                                                                     $0.00
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.



 Part 4: Investments


  13.     Does the debtor own any investments?
          ❑No. Go to Part 5.
          ✔Yes. Fill in the information below.
          ❑

                                                                                                                  Valuation method used for      Current value of debtor's
                                                                                                                  current value                  interest

  14.     Mutual funds or publicly traded stocks not included in Part 1
          Name of fund or stock:

          None


  15.    Non-publicly traded stock and interests in incorporated and unincorporated businesses,
         including any interest in an LLC, partnership, or joint venture
          Name of fund or stock:                                                           % of ownership:

         15.1 Thunder Rock Holdings, LLC (30% Owner)                                          30.00 %                                                         $699,999.90




Official Form 106A/B                                                                  Schedule A/B: Property                                                    page 2
              20-50805-rbk Doc#46 Filed 06/05/20 Entered 06/05/20 08:08:33 Main Document Pg 4 of
                                                      29
Debtor        KRISJENN RANCH, LLC, KRISJENN RANCH, LLC, Series Uvalde Ranch,                                    Case number (if known)            20-50805
              KRISJENN RANCH, LLC, Series Pipeline Row
             Name



  16.    Government bonds, corporate bonds, and other negotiable and non-negotiable
         instruments not included in Part 1
         Describe:

         16.1 Series Uvalde Ranch                                                                                                                    $5,900,000.00


         Additional Page Total - See continuation page for additional entries                                                                        $6,722,909.16


  17.    Total of Part 4
                                                                                                                                                   $13,322,909.06
         Add lines 14 through 16 (including any additional sheets). Copy the total to line 83.



 Part 5: Inventory, excluding agriculture assets


  18.    Does the debtor own any inventory (excluding agriculture assets)?
         ✔ No. Go to Part 6.
         ❑
         ❑Yes. Fill in the information below.

         General description                                    Date of the last          Net book value of   Valuation method used      Current value of debtor's
                                                                physical inventory        debtor's interest   for current value          interest
                                                                                          (Where available)


  19.    Raw materials

         None

  20.    Work in progress

         None

  21.    Finished goods, including goods held for resale

         None

  22.    Other inventory or supplies

         None

  23.    Total of Part 5
         Add lines 19 through 22 (including any additional sheets). Copy the total to line 84.

  24.    Is any of the property listed in Part 5 perishable?
         ✔ No
         ❑
         ❑Yes
  25.    Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
         ✔ No
         ❑
         ❑Yes
  26.    Has any of the property listed in Part 5 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑Yes



Official Form 106A/B                                                              Schedule A/B: Property                                                page 3
              20-50805-rbk Doc#46 Filed 06/05/20 Entered 06/05/20 08:08:33 Main Document Pg 5 of
                                                      29
Debtor        KRISJENN RANCH, LLC, KRISJENN RANCH, LLC, Series Uvalde Ranch,                                      Case number (if known)            20-50805
              KRISJENN RANCH, LLC, Series Pipeline Row
             Name




 Part 6: Farming and fishing-related assets (other than titled motor vehicles and land)


  27.    Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
         ❑No. Go to Part 7.
         ✔Yes. Fill in the information below.
         ❑

         General description                                                          Net book value of         Valuation method used      Current value of debtor's
                                                                                      debtor's interest         for current value          interest
                                                                                      (Where available)


  28.    Crops — either planted or harvested

         None


  29.    Farm animals Examples: Livestock, poultry, farm-raised fish

         29.1 18 Angus Cows (plus calves)                                                      (Unknown)                                                 $30,000.00


         Additional Page Total - See continuation page for additional entries                                                                             $4,000.00

  30.    Farm machinery and equipment (Other than titled motor vehicles)

         30.1 2010 John Deer 110hp Tractor                                                     (Unknown)                                                 $35,000.00


  31.    Farm and fishing supplies, chemicals, and feed

         31.1 Deer Feed                                                                        (Unknown)                                                  $1,000.00


         Additional Page Total - See continuation page for additional entries                                                                             $1,000.00

  32.    Other farming and fishing-related property not already listed in Part 6

         None

  33.    Total of Part 6
         Add lines 28 through 32. Copy the total to line 85.                                                                                             $71,000.00


  34.    Is the debtor a member of an agricultural cooperative?
         ✔ No
         ❑
         ❑Yes. Is any of the debtor's property stored at the cooperative?
            ❑No
            ❑Yes

  35.    Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
         ❑No
         ✔Yes
         ❑                       Book value        (Unknown)      Valuation method                        Current value       $1,000.00

                                 Book value        (Unknown)      Valuation method                        Current value       $1,000.00




Official Form 106A/B                                                            Schedule A/B: Property                                                    page 4
              20-50805-rbk Doc#46 Filed 06/05/20 Entered 06/05/20 08:08:33 Main Document Pg 6 of
                                                      29
Debtor        KRISJENN RANCH, LLC, KRISJENN RANCH, LLC, Series Uvalde Ranch,                                     Case number (if known)            20-50805
              KRISJENN RANCH, LLC, Series Pipeline Row
             Name


  36.    Is a depreciation schedule available for any of the property listed in Part 6?
         ❑No
         ✔Yes
         ❑
  37.    Has any of the property listed in Part 6 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑Yes


 Part 7: Office furniture, fixtures, and equipment; and collectibles


  38.    Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?
         ❑No. Go to Part 8.
         ✔Yes. Fill in the information below.
         ❑

         General description                                                               Net book value of   Valuation method used      Current value of debtor's
                                                                                           debtor's interest   for current value          interest
                                                                                           (Where available)


  39.    Office furniture

         None


  40.    Office fixtures

              19 Beds - $15,000, 4 Dressers - $1,000, 4 Dining Tables -                            (Unknown)                                            $29,000.00
              $3,000, 10 Lamps - $500, Linens - $500, 2 TV sets - $500,
              Miscellaneous kitchen ware - $500, Couches and Bar
         40.1 stools - $8,000


  41.    Office equipment, including all computer equipment and
         communication systems equipment and software

         None


  42.    Collectibles Examples: Antiques and figurines; paintings, prints or other
         artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
         or baseball card collections; other collections, memorabilia, or collectibles


         None


  43.    Total of Part 7
                                                                                                                                                        $29,000.00
         Add lines 39 through 42. Copy the total to line 86.

  44.    Is a depreciation schedule available for any of the property listed in Part 7?
         ✔ No
         ❑
         ❑Yes
  45.    Has any of the property listed in Part 7 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑Yes



Official Form 106A/B                                                               Schedule A/B: Property                                                page 5
              20-50805-rbk Doc#46 Filed 06/05/20 Entered 06/05/20 08:08:33 Main Document Pg 7 of
                                                      29
Debtor        KRISJENN RANCH, LLC, KRISJENN RANCH, LLC, Series Uvalde Ranch,                                    Case number (if known)            20-50805
              KRISJENN RANCH, LLC, Series Pipeline Row
             Name




 Part 8: Machinery, equipment, and vehicles


  46.    Does the debtor own or lease any machinery, equipment, or vehicles?
         ❑No. Go to Part 9.
         ✔Yes. Fill in the information below.
         ❑
         General description                                                           Net book value of      Valuation method used      Current value of debtor's
         Include year, make, model, and identification numbers (i.e., VIN, HIN, or     debtor's interest      for current value          interest
         N-number)                                                                        (Where available)


  47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


         47.1 Ford / Ranch Truck                                                                  (Unknown)                                             $7,000.00


  48.    Watercraft, trailers, motors, and related accessories Examples: Boats,
         trailers, motors, floating homes, personal watercraft, and fishing vessels


         None


  49. Aircraft and accessories

         None


  50.    Other machinery, fixtures, and equipment (excluding farm machinery
         and equipment)

         50.1 Catapiller / Backhoe                                                                (Unknown)                                            $12,000.00


         Additional Page Total - See continuation page for additional entries                                                                           $4,500.00

  51.    Total of Part 8
                                                                                                                                                       $23,500.00
         Add lines 47 through 50. Copy the total to line 87.

  52.    Is a depreciation schedule available for any of the property listed in Part 8?
         ✔ No
         ❑
         ❑Yes

  53.    Has any of the property listed in Part 8 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑Yes


 Part 9: Real Property


  54.    Does the debtor own or lease any real property?
         ✔ No. Go to Part 10.
         ❑
         ❑Yes. Fill in the information below.



Official Form 106A/B                                                             Schedule A/B: Property                                                 page 6
              20-50805-rbk Doc#46 Filed 06/05/20 Entered 06/05/20 08:08:33 Main Document Pg 8 of
                                                      29
Debtor        KRISJENN RANCH, LLC, KRISJENN RANCH, LLC, Series Uvalde Ranch,                                          Case number (if known)            20-50805
              KRISJENN RANCH, LLC, Series Pipeline Row
             Name



         General description                                    Nature and extent of      Net book value of        Valuation method used       Current value of debtor's
         Include street address or other description such as    debtor's interest in      debtor's interest        for current value           interest
         Assessor Parcel Number (APN), and type of property     property                  (Where available)
         (for example, acreage, factory, warehouse, apartment
         or office building), if available


  55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has interest

         None


  56.    Total of Part 9
         Add the current value on lines 55.1 through 55.3 and entries from any addition sheets. Copy the total to line 88.

  57.    Is a depreciation schedule available for any of the property listed in Part 9?
         ✔ No
         ❑
         ❑Yes
  58.    Has any of the property listed in Part 9 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑Yes


 Part 10: Intangibles and Intellectual Property


  59.    Does the debtor have any interests in intangibles or intellectual property?
         ✔ No. Go to Part 11.
         ❑
         ❑Yes. Fill in the information below.

         General description                                                              Net book value of        Valuation method used       Current value of debtor's
                                                                                          debtor's interest        for current value           interest
                                                                                          (Where available)


  60.    Patents, copyrights, trademarks, and trade secrets

         None

  61.    Internet domain names and websites

         None


  62.    Licenses, franchises, and royalties

         None

  63.    Customer lists, mailing lists, or other compilations

         None


  64.    Other intangibles, or intellectual property

         None

  65.    Goodwill

         None


Official Form 106A/B                                                              Schedule A/B: Property                                                      page 7
              20-50805-rbk Doc#46 Filed 06/05/20 Entered 06/05/20 08:08:33 Main Document Pg 9 of
                                                      29
Debtor        KRISJENN RANCH, LLC, KRISJENN RANCH, LLC, Series Uvalde Ranch,                                       Case number (if known)            20-50805
              KRISJENN RANCH, LLC, Series Pipeline Row
             Name



  66.    Total of Part 10
         Add lines 60 through 65. Copy the total to line 89.

  67.    Do your lists or records include personally identifiable information of customers? (as defined in 11 U.S.C. §§ 101(41A) and 107)
         ✔ No
         ❑
         ❑Yes
  68.    Is there an amortization or other similar schedule available for any of the property listed in Part 10?
         ✔ No
         ❑
         ❑Yes
  69.    Has any of the property listed in Part 10 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑Yes


 Part 11: All other assets


  70.    Does the debtor own any other assets that have not yet been reported on this form?
         ✔ No. Go to Part 12.
         ❑
         ❑Yes. Fill in the information below.

                                                                                                                                            Current value of debtor's
                                                                                                                                            interest

  71.    Notes receivable
         Description (include name of obligor)

         None


  72.    Tax refunds and unused net operating losses (NOLs)
         Description (for example, federal, state, local)

         None


  73.    Interests in insurance policies or annuities

         None


  74.    Causes of action against third parties (whether or not a lawsuit has been filed)

         None


  75.    Other contingent and unliquidated claims or causes of action of every nature,
         including counterclaims of the debtor and rights to set off claims

         None


  76.    Trusts, equitable or future interests in property

         None




Official Form 106A/B                                                          Schedule A/B: Property                                                       page 8
             20-50805-rbk Doc#46 Filed 06/05/20 Entered 06/05/20 08:08:33 Main Document Pg 10 of
                                                      29
Debtor        KRISJENN RANCH, LLC, KRISJENN RANCH, LLC, Series Uvalde Ranch,                                Case number (if known)   20-50805
              KRISJENN RANCH, LLC, Series Pipeline Row
             Name



  77.    Other property of any kind not already listed Examples: Season tickets,
         country club membership

         None


  78.    Total of Part 11
         Add lines 71 through 77. Copy the total to line 90.

  79.    Has any of the property listed in Part 11 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑Yes




Official Form 106A/B                                                          Schedule A/B: Property                                      page 9
              20-50805-rbk Doc#46 Filed 06/05/20 Entered 06/05/20 08:08:33 Main Document Pg 11 of
                                                       29
Debtor         KRISJENN RANCH, LLC, KRISJENN RANCH, LLC, Series Uvalde Ranch,                                                                    Case number (if known)       20-50805
               KRISJENN RANCH, LLC, Series Pipeline Row
              Name



 Part 12: Summary


         Type of property                                                                     Current value of                                Current value
                                                                                              personal property                               of real property


  80. Cash, cash equivalents, and financial assets. Copy line 5,
      Part 1.                                                                                                     $4,330.95

  81. Deposits and prepayments. Copy line 9, Part 2.


  82. Accounts receivable. Copy line 12, Part 3.                                                                      $0.00

  83. Investments. Copy line 17, Part 4.                                                                   $13,322,909.06

  84. Inventory. Copy line 23, Part 5.


  85. Farming and fishing-related assets. Copy line 33, Part 6.                                                 $71,000.00

  86. Office furniture, fixtures, and equipment; collectibles.
      Copy line 43, Part 7.                                                                                     $29,000.00

  87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                 $23,500.00


                                                                                                                                    ➔
  88. Real property. Copy line 56, Part 9..........................................................................

  89. Intangibles and intellectual property. Copy line 66, Part 10.


  90. All other assets. Copy line 78, Part 11.                                           +



  91. Total. Add lines 80 through 90 for each column......                           91a.                 $13,450,740.01         + 91b.                               $0.00



                                                                                                                                                                               $13,450,740.01
  92. Total of all property on Schedule A/B. Lines 91a + 91b = 92 .................................................................................................




Official Form 206A/B                                                            Schedule A/B: Assets — Real and Personal Property                                               page 10
             20-50805-rbk Doc#46 Filed 06/05/20 Entered 06/05/20 08:08:33 Main Document Pg 12 of
                                                      29
Debtor        KRISJENN RANCH, LLC, KRISJENN RANCH, LLC, Series Uvalde Ranch,                                     Case number (if known)            20-50805
              KRISJENN RANCH, LLC, Series Pipeline Row
             Name



          Additional Page

                                                                                                           Valuation method used for      Current value of debtor's
                                                                                                           current value                  interest

  16. Government bonds, corporate bonds, and other negotiable and non-negotiable
      instruments not included in Part 1 - Continued
         Describe:
         16.2 Series Pipeline Row                                                                                                                     $6,500,000.00

         16.3 Promissory Note from Big Foot Energy Service, LLC                                                                                        $127,377.16

         16.4 Money Interpleaded in Bigfoot Energy Services, LLC Litigation                                                                             $95,532.00


         General description                                                           Net book value of      Valuation method used       Current value of debtor's
                                                                                       debtor's interest      for current value           interest
                                                                                       (Where available)

  29. Farm animals - Continued

         29.2 1 Angus Bull                                                                      (Unknown)                                                $2,000.00

         29.3 1 Hereford Bull                                                                   (Unknown)                                                $2,000.00

         General description                                                           Net book value of      Valuation method used       Current value of debtor's
         Include year, make, model, and identification numbers (i.e., VIN, HIN, or     debtor's interest      for current value           interest
         N-number)                                                                     (Where available)

  50. Other machinery, fixtures, and equipment - Continued

         50.2 Shredder                                                                          (Unknown)                                                $4,500.00




Official Form 106A/B                                                             Schedule A/B: Property                                                 page 11
            20-50805-rbk Doc#46 Filed 06/05/20 Entered 06/05/20 08:08:33 Main Document Pg 13 of
                                                     29
 Fill in this information to identify the case:

                      KRISJENN RANCH, LLC, KRISJENN RANCH, LLC, Series
 Debtor name          Uvalde Ranch, KRISJENN RANCH, LLC, Series Pipeline Row

 United States Bankruptcy Court for the:
                       Western District of Texas, San Antonio Division

 Case number (if known):                 20-50805                                                                                        ✔ Check if this is an
                                                                                                                                         ❑
                                                                                                                                            amended filing

Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                              04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name
and case number (if known).



 Part 1: Income


 1. Gross revenue from business

    ❑None
          Identify the beginning and ending dates of the debtor’s fiscal year, which may         Sources of revenue                        Gross revenue
          be a calendar year                                                                      Check all that apply                     (before deductions and
                                                                                                                                           exclusions)

         From the beginning of the                                                               ❑Operating a business
         fiscal year to filing date:              From 01/01/2020
                                                        MM/ DD/ YYYY
                                                                        to    Filing date
                                                                                                 ❑Other

         For prior year:                          From 01/01/2019       to    12/31/2019         ✔ Operating a business
                                                                                                 ❑                                                           $1,671,395.00
                                                        MM/ DD/ YYYY           MM/ DD/ YYYY             Interest, Royalties, Rents,
                                                                                                 ✔Other Capital Gains.
                                                                                                 ❑

         For the year before that:                From 01/01/2018       to    12/31/2018         ✔ Operating a business
                                                                                                 ❑                                                           $2,566,444.00
                                                        MM/ DD/ YYYY           MM/ DD/ YYYY             Sale of Pipeline and
                                                                                                 ✔Other interest income.
                                                                                                 ❑


 2. Non-business revenue
    Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits, and royalties. List
    each source and the gross revenue for each separately. Do not include revenue listed in line 1.

    ✔None
    ❑
                                                                                                 Description of sources of revenue         Gross revenue from each
                                                                                                                                           source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the
       fiscal year to filing date:            From 01/01/2020          to    Filing date
                                                       MM/ DD/ YYYY


       For prior year:                        From 01/01/2019          to    12/31/2019
                                                       MM/ DD/ YYYY           MM/ DD/ YYYY


       For the year before that:              From 01/01/2018          to    12/31/2018
                                                       MM/ DD/ YYYY           MM/ DD/ YYYY



Official Form 207                                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 1
               20-50805-rbk Doc#46 Filed 06/05/20 Entered 06/05/20 08:08:33 Main Document Pg 14 of
                                                        29
Debtor           KRISJENN RANCH, LLC, KRISJENN RANCH, LLC, Series Uvalde Ranch, KRISJENN                               Case number (if known)                  20-50805
                 RANCH, LLC, Series Pipeline Row
               Name



 Part 2: List Certain Transfers Made Before Filing for Bankruptcy

 3. Certain payments or transfers to creditors within 90 days before filing this case
    List payments or transfers—including expense reimbursements—to any creditor, other than regular employee compensation, within 90 days before filing this case unless
    the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22 and every 3 years after that with respect to
    cases filed on or after the date of adjustment.)

    ❑None

    Creditor’s name and address                                Dates               Total amount or value              Reasons for payment or transfer
                                                                                                                      Check all that apply


 3.1.    Uvalde County Appraisal District                      1/21/20                           $5,821.24            ❑Secured debt
        Creditor's name
                                                                                                                      ❑Unsecured loan repayments
         209 N High St
        Street
                                                                                                                      ❑Suppliers or vendors
                                                                                                                      ❑Services
                                                                                                                      ✔Other Taxes
                                                                                                                      ❑
         Uvalde, TX 78801
        City                         State     ZIP Code

 4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
    List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed or co-signed by an
    insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount may be adjusted on 4/01/22 and every 3
    years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments listed in line 3. Insiders include officers, directors, and anyone
    in control of a corporate debtor and their relatives; general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and
    any managing agent of the debtor. 11 U.S.C. § 101(31).
    ✔None
    ❑
    Insider’s name and address                                 Dates               Total amount or value              Reasons for payment or transfer



 4.1.
        Creditor's name


        Street




        City                         State     ZIP Code

         Relationship to debtor



 5. Repossessions, foreclosures, and returns
    List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at a foreclosure sale,
    transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
    ✔None
    ❑
    Creditor’s name and address                                Description of the property                                   Date                      Value of property



 5.1.
        Creditor's name


        Street




        City                         State     ZIP Code



Official Form 207                                         Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                            page 2
               20-50805-rbk Doc#46 Filed 06/05/20 Entered 06/05/20 08:08:33 Main Document Pg 15 of
                                                        29
Debtor           KRISJENN RANCH, LLC, KRISJENN RANCH, LLC, Series Uvalde Ranch, KRISJENN                                Case number (if known)                  20-50805
                 RANCH, LLC, Series Pipeline Row
               Name


 6. Setoffs
    List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of the debtor without
    permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
    ✔None
    ❑
    Creditor’s name and address                                Description of the action creditor took                       Date action was            Amount
                                                                                                                             taken


 5.1.
        Creditor's name
                                                                XXXX–
        Street




        City                         State     ZIP Code

 Part 3: Legal Actions or Assignments

 7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
    List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved in any capacity
     —within 1 year before filing this case.
    ❑None
 7.1.    Case title                               Nature of case                              Court or agency's name and address                        Status of case

         LONGBRANCH ENERGY, L.P. v.                                                          123rd/273rd JUDICIAL DISTRICT                             ✔Pending
                                                                                                                                                       ❑
                                                                                                                                                       ❑On appeal
         TCRG EAST TEXAS PIPELINE                                                           Name
         1, LLC; BLACK DUCK
                                                                                                                                                       ❑Concluded
                                                                                             Po Box 1953
         PROPERTIES, LLC; DMA                                                               Street
         PROPERTIES, INC; LARRY
         WRIGHT, and KRISJENN
         RANCH, LLC                                                                          Center, TX 75935-1953
                                                                                            City                           State      ZIP Code

         Case number

         19CV34877

 7.2.    Case title                               Nature of case                              Court or agency's name and address                        Status of case

         Bigfoot Energy Services LLC v.                                                      123rd District Court of Panola County                     ✔Pending
                                                                                                                                                       ❑
                                                                                                                                                       ❑On appeal
         Black Duck Properties, LLC,                                                        Name
         KrisJenn Ranch, LLC, and
                                                                                                                                                       ❑Concluded
                                                                                             110 S Sycamore St
         KrisJenn Ranch, LLC, A Limited                                                     Street
         Liability Company-Series Uvalde
         Ranch, and DMA Properties,
         LLC                                                                                 Carthage, TX 75633-2546
                                                                                            City                           State      ZIP Code

         Case number

         2019-355




Official Form 207                                         Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                              page 3
               20-50805-rbk Doc#46 Filed 06/05/20 Entered 06/05/20 08:08:33 Main Document Pg 16 of
                                                        29
Debtor           KRISJENN RANCH, LLC, KRISJENN RANCH, LLC, Series Uvalde Ranch, KRISJENN                              Case number (if known)                 20-50805
                 RANCH, LLC, Series Pipeline Row
               Name


 7.3.    Case title                               Nature of case                              Court or agency's name and address                     Status of case

         Larry M. Wright, KrisJenn                                                           Guadalupe County District Court                        ✔Pending
                                                                                                                                                    ❑
                                                                                                                                                    ❑On appeal
         Ranch, LLC and KrisJenn Ranch,                                                      Name
         LLC-Series Uvalde Ranch as
                                                                                                                                                    ❑Concluded
                                                                                             211 W Court St
         successors to Black Duck                                                            Street
         Properties, LLC v. Frank Daniel
         Moore, DMA Properties, Inc.,
         Darin Borders, and Longbranch                                                       Seguin, TX 78155-2545
         Energy, LP                                                                          City                           State   ZIP Code



         Case number

         19-1489-CV-C
 8. Assignments and receivership
    List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a receiver, custodian,
    or other court-appointed officer within 1 year before filing this case.
    ✔None
    ❑
 8.1.    Custodian’s name and address                         Description of the property                             Value


        Custodian’s name
                                                              Case title                                              Court name and address
        Street
                                                                                                                     Name

                                                              Case number                                            Street
        City                        State     ZIP Code



                                                              Date of order or assignment                            City                          State     ZIP Code




 Part 4: Certain Gifts and Charitable Contributions

 9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of the gifts to that
    recipient is less than $1,000
    ✔None
    ❑
 9.1.    Recipient’s name and address                         Description of the gifts or contributions                       Dates given         Value


        Recipient’s name


        Street




        City                        State     ZIP Code


         Recipient’s relationship to debtor




 Part 5: Certain Losses

 10. All losses from fire, theft, or other casualty within 1 year before filing this case.
        ✔None
        ❑


Official Form 207                                        Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                           page 4
                20-50805-rbk Doc#46 Filed 06/05/20 Entered 06/05/20 08:08:33 Main Document Pg 17 of
                                                         29
Debtor          KRISJENN RANCH, LLC, KRISJENN RANCH, LLC, Series Uvalde Ranch, KRISJENN                               Case number (if known)                 20-50805
                RANCH, LLC, Series Pipeline Row
                Name


     Description of the property lost and how the loss           Amount of payments received for the loss                           Date of loss       Value of property
     occurred                                                    If you have received payments to cover the loss, for                                  lost
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.
                                                                 List unpaid claims on Official Form 106A/B (Schedule A/B:
                                                                 Assets – Real and Personal Property).


 10.1.                                                                                                                                                              $0.00

 Part 6: Certain Payments or Transfers

 11. Payments related to bankruptcy
     List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing of this case to another
     person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy relief, or filing a bankruptcy case.
     ❑None


 11.1.    Who was paid or who received the transfer?              If not money, describe any property transferred                Dates                 Total amount or
                                                                                                                                                       value

         Muller Smeberg, PLLC                                     Attroney Fees                                                  3/18/20                        $12,000.00
                                                                  Attorney Fees                                                  4/21/20                        $12,000.00
          Address

         111 W Sunset
         Street


         San Antonio, TX 78209
         City                        State     ZIP Code


          Email or website address

         ron@smeberg.com

          Who made the payment, if not debtor?

         Larry Wright



 12. Self-settled trusts of which the debtor is a beneficiary
     List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to a self-settled trust
     or similar device.
     Do not include transfers already listed on this statement.
     ✔None
     ❑

 12.1.     Name of trust or device                              Describe any property transferred                              Dates transfers         Total amount or
                                                                                                                               were made               value




           Trustee




Official Form 207                                        Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                            page 5
                20-50805-rbk Doc#46 Filed 06/05/20 Entered 06/05/20 08:08:33 Main Document Pg 18 of
                                                         29
Debtor          KRISJENN RANCH, LLC, KRISJENN RANCH, LLC, Series Uvalde Ranch, KRISJENN                            Case number (if known)                20-50805
                RANCH, LLC, Series Pipeline Row
                Name


 13. Transfers not already listed on this statement
     List any transfers of money or other property—by sale, trade, or any other means—made by the debtor or a person acting on behalf of the debtor within 2 years before the
     filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include both outright transfers and transfers
     made as security. Do not include gifts or transfers previously listed on this statement.
     ❑None

 13.1.    Who received the transfer?                         Description of property transferred or payments                 Date transfer        Total amount or
                                                             received or debts paid in exchange                              was made             value

         VEC Assets, LLC                                     Shares in entity transferred back to entity when purpose of                                   (Unknown)
                                                             company ended from sale of ranch. Debtor had been paid
                                                             his share of the profits and no longer any purpose for the
          Address
                                                             venture.
         8700 Crownhill Blvd. Ste 407
         Street


         San Antonio, TX 78209
         City                         State   ZIP Code


          Relationship to debtor

         Debtor was an owner of the entity.



 Part 7: Previous Locations

 14. Previous addresses
     List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.
     ✔Does not apply
     ❑
    Address                                                                                                     Dates of occupancy


 14.1.                                                                                                         From                          To
         Street




         City                         State   ZIP Code




 Part 8: Health Care Bankruptcies

 15. Health Care bankruptcies
     Is the debtor primarily engaged in offering services and facilities for:
      —diagnosing or treating injury, deformity, or disease, or
      —providing any surgical, psychiatric, drug treatment, or obstetric care?
     ✔No. Go to Part 9.
     ❑
     ❑Yes. Fill in the information below.




Official Form 207                                      Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                         page 6
                20-50805-rbk Doc#46 Filed 06/05/20 Entered 06/05/20 08:08:33 Main Document Pg 19 of
                                                         29
Debtor          KRISJENN RANCH, LLC, KRISJENN RANCH, LLC, Series Uvalde Ranch, KRISJENN                               Case number (if known)               20-50805
                RANCH, LLC, Series Pipeline Row
                Name


          Facility name and address                          Nature of the business operation, including type of services the            If debtor provides meals
                                                             debtor provides                                                             and housing, number of
                                                                                                                                         patients in debtor’s care

 15.1.
         Facility name


         Street                                              Location where patient records are maintained(if different from facility    How are records kept?
                                                             address). If electronic, identify any service provider.
         City                       State     ZIP Code                                                                                  Check all that apply:
                                                                                                                                        ❑Electronically
                                                                                                                                        ❑Paper

 Part 9: Personally Identifiable Information


 16. Does the debtor collect and retain personally identifiable information of customers?
     ✔ No.
     ❑
     ❑Yes. State the nature of the information collected and retained.
                  Does the debtor have a privacy policy about that information?
                  ❑No
                  ❑Yes
 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b) or other pension or profit-sharing plan
     made available by the debtor as an employee benefit?
     ✔No. Go to Part 10.
     ❑
     ❑Yes. Does the debtor serve as plan administrator?
           ❑No. Go to Part 10.
           ❑Yes. Fill in below:
                       Name of plan                                                                      Employer identification number of the plan

                                                                                                         EIN:           –

                       Has the plan been terminated?
                       ❑No
                       ❑Yes

 Part 10: Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

 18. Closed financial accounts
     Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold, moved, or
     transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses, cooperatives,
     associations, and other financial institutions.
     ✔None
     ❑
    Financial institution name and address                    Last 4 digits of account       Type of account            Date account was             Last balance
                                                              number                                                    closed, sold, moved,         before closing
                                                                                                                        or transferred               or transfer




Official Form 207                                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 7
                20-50805-rbk Doc#46 Filed 06/05/20 Entered 06/05/20 08:08:33 Main Document Pg 20 of
                                                         29
Debtor          KRISJENN RANCH, LLC, KRISJENN RANCH, LLC, Series Uvalde Ranch, KRISJENN                                   Case number (if known)                 20-50805
                RANCH, LLC, Series Pipeline Row
                Name



 18.1                                                          XXXX–                           ❑Checking
         Name
                                                                                               ❑Savings
                                                                                               ❑Money market
                                                                                               ❑Brokerage
         Street


                                                                                               ❑Other
         City                         State   ZIP Code

 19. Safe deposit boxes
        List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.
        ✔None
        ❑
 19.1     Depository institution name and address              Names of anyone with access to it               Description of the contents                   Does debtor
                                                                                                                                                             still have it?

                                                                                                                                                            ❑    No
         Name
                                                                                                                                                            ❑    Yes
         Street

                                                               Address

         City                         State   ZIP Code



 20. Off-premises storage
        List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in which the debtor does
        business.
        ✔None
        ❑
 20.1     Facility name and address                            Names of anyone with access to it               Description of the contents                   Does debtor
                                                                                                                                                             still have it?

                                                                                                                                                            ❑    No
         Name
                                                                                                                                                            ❑    Yes
         Street

                                                               Address

         City                         State   ZIP Code



 Part 11: Property the Debtor Holds or Controls That the Debtor Does Not Own

 21. Property held for another
        List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do not list leased or
        rented property.
        ❑None




Official Form 207                                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                             page 8
            20-50805-rbk Doc#46 Filed 06/05/20 Entered 06/05/20 08:08:33 Main Document Pg 21 of
                                                     29
Debtor       KRISJENN RANCH, LLC, KRISJENN RANCH, LLC, Series Uvalde Ranch, KRISJENN                                   Case number (if known)                 20-50805
             RANCH, LLC, Series Pipeline Row
            Name


    Owner’s name and address                                 Location of the property                      Description of the property                    Value

    Wright, Larry                                           6048 CR 365                                   Numerous trophy heads
   Name
    410 Spyglass Rd
   Street                                                   Uvalde, TX 78801


    Mc Queeney                     TX
    78123-3418
   City                            State   ZIP Code

 Part 12: Details About Environmental Information



      For the purpose of Part 12, the following definitions apply:
            Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the medium
            affected (air, land, water, or any other medium).
            Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly owned, operated,
            or utilized.
            Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a similarly harmful
            substance.
      Report all notices, releases, and proceedings known, regardless of when they occurred

 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law?
     Include settlements and orders.
     ✔ No
     ❑
     ❑Yes. Provide details below.

    Case title                                      Court or agency name and address                      Nature of the case                             Status of case

                                                                                                                                                        ❑Pending
    Case number
                                                   Name
                                                                                                                                                        ❑On appeal
                                                                                                                                                        ❑Concluded
                                                   Street




                                                   City                           State   ZIP Code

 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an environmental law?
     ✔ No
     ❑
     ❑Yes. Provide details below.


    Site name and address                           Governmental unit name and address                   Environmental law, if known                     Date of notice


   Name                                            Name


   Street                                          Street




   City                    State    ZIP Code       City                           State   ZIP Code




Official Form 207                                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 9
                 20-50805-rbk Doc#46 Filed 06/05/20 Entered 06/05/20 08:08:33 Main Document Pg 22 of
                                                          29
Debtor           KRISJENN RANCH, LLC, KRISJENN RANCH, LLC, Series Uvalde Ranch, KRISJENN                            Case number (if known)                  20-50805
                 RANCH, LLC, Series Pipeline Row
                 Name


 24. Has the debtor notified any governmental unit of any release of hazardous material?
     ✔ No
     ❑
     ❑Yes. Provide details below.

    Site name and address                           Governmental unit name and address                Environmental law, if known                       Date of notice


   Name                                            Name


   Street                                          Street




   City                     State   ZIP Code       City                          State   ZIP Code




 Part 13: Details About the Debtor’s Business or Connections to Any Business



 25. Other businesses in which the debtor has or has had an interest
     List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case. Include this information
     even if already listed in the Schedules.
     ❑None

           Business name and address                      Describe the nature of the business                 Employer Identification number
                                                                                                              Do not include Social Security number or ITIN.
 25.1.
          Black Duck Properties, LLC                                                                         EIN:    8   1 – 0      9     6   5   7     4   6
          Name
                                                                                                              Dates business existed
          410 Spyglass Rd
          Street
                                                                                                             From 12/28/15              To 12/19/2018

          Mc Queeney, TX 78123-3418
          City                  State   ZIP Code


           Business name and address                      Describe the nature of the business                 Employer Identification number
                                                                                                              Do not include Social Security number or ITIN.
 25.2.
          KrissJenn Ranch, LLC - Series Pipeline                                                             EIN:           –
          Row, a series of KrissJenn Ranch , LLC
          Name                                                                                                Dates business existed
          410 Spyglass Rd
          Street                                                                                             From                       To


          Mc Queeney, TX 78123-3418
          City                  State   ZIP Code




Official Form 207                                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 10
                 20-50805-rbk Doc#46 Filed 06/05/20 Entered 06/05/20 08:08:33 Main Document Pg 23 of
                                                          29
Debtor           KRISJENN RANCH, LLC, KRISJENN RANCH, LLC, Series Uvalde Ranch, KRISJENN                     Case number (if known)               20-50805
                 RANCH, LLC, Series Pipeline Row
                 Name


           Business name and address                Describe the nature of the business                Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.
 25.3.
          KrissJenn Ranch, LLC - Series Uvalde                                                        EIN:          –
          Ranch, a series of KrissJenn Ranch ,
          LLC                                                                                          Dates business existed
          Name
          410 Spyglass Rd                                                                             From                     To
          Street



          Mc Queeney, TX 78123-3418
          City                 State     ZIP Code


           Business name and address                Describe the nature of the business                Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.
 25.4.
          Thunder Rock Holdings, LLC                Minority Royalty and 1031 Commercial Land         EIN:    3   2 – 0    5    7     8   5   0   3
          Name                                      Holding
                                                                                                       Dates business existed
          8700 Crownhill Blvd. Ste 407
          Street
                                                                                                      From 08/31/2018          To

          San Antonio, TX 78209
          City                 State     ZIP Code


           Business name and address                Describe the nature of the business                Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.
 25.5.
          VEC Assets, LLC                           Created to buy minority Interests in Unimproved   EIN:    3   6 – 4    9    0     9   0   5   5
          Name                                      undivided Ranches with Minerals.
                                                                                                       Dates business existed
          8700 Crownhill Blvd. Ste 407
          Street
                                                                                                      From 08/31/2018          To

          San Antonio, TX 78209
          City                 State     ZIP Code


 26. Books, records, and financial statements

 26a. List   all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
        ❑None
            Name and address                                                                            Dates of service

 26a.1.     Miers, Jerry G.                                                                            From                     To current
           Name
            17111 Blanco Trl
           Street



            San Antonio, TX 78248-2620
           City                                         State                     ZIP Code



 26b.      List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a
           financial statement within 2 years before filing this case.
           ❑None



Official Form 207                                    Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 11
              20-50805-rbk Doc#46 Filed 06/05/20 Entered 06/05/20 08:08:33 Main Document Pg 24 of
                                                       29
Debtor         KRISJENN RANCH, LLC, KRISJENN RANCH, LLC, Series Uvalde Ranch, KRISJENN                             Case number (if known)               20-50805
               RANCH, LLC, Series Pipeline Row
              Name


            Name and address                                                                                    Dates of service

 26b.1.     Miers, Jerry G.                                                                                     From                   To current
           Name
            17111 Blanco Trl
           Street



            San Antonio, TX 78248-2620
           City                                                State                     ZIP Code



 26c.      List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
           ✔None
           ❑
            Name and address                                                                                    If any books of account and records are
                                                                                                                unavailable, explain why
 26c.1.


           Name


           Street




           City                                                State                     ZIP Code




 26d. List   all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued
        a financial statement within 2 years before filing this case.
        ✔None
        ❑
            Name and address

 26d.1.
           Name


           Street




           City                                                State                     ZIP Code

 27. Inventories
        Have any inventories of the debtor’s property been taken within 2 years before filing this case?
        ✔ No
        ❑
        ❑Yes. Give the details about the two most recent inventories.

    Name of the person who supervised the taking of the inventory                                   Date of            The dollar amount and basis (cost, market, or
                                                                                                    inventory          other basis) of each inventory




Official Form 207                                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 12
                20-50805-rbk Doc#46 Filed 06/05/20 Entered 06/05/20 08:08:33 Main Document Pg 25 of
                                                         29
Debtor          KRISJENN RANCH, LLC, KRISJENN RANCH, LLC, Series Uvalde Ranch, KRISJENN                             Case number (if known)                 20-50805
                RANCH, LLC, Series Pipeline Row
                Name



          Name and address of the person who has possession of inventory records

 27.1.
         Name


         Street




         City                                        State                 ZIP Code

 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people in control of the
     debtor at the time of the filing of this case.

    Name                               Address                                                      Position and nature of any interest      % of interest, if any


    Larry Wright                      410 Spyglass Rd Mc Queeney, TX 78123-3418                     Manager,                                 30.00 %

    Gwynne A. Wrigt                   410 Spyglass Rd Mc Queeney, TX 78123-3418                     Member,                                  30.00 %

    Jennifer Jeanne Wright            248 Bamberger Ave New Braunfels, TX 78132-0015                Member,                                  20.00 %


    Kristal Dawn Cohle                627 Williams Way New Braunfels, TX 78130-5269                 Member,                                  20.00 %
 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control of the debtor, or
     shareholders in control of the debtor who no longer hold these positions?
     ✔ No
     ❑
     ❑Yes. Identify below.
    Name                               Address                                                      Position and nature of any        Period during which
                                                                                                    interest                          position or interest was held



                                                                                                ,                                         From
                                                                                                                                          To

 30. Payments, distributions, or withdrawals credited or given to insiders

     Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses, loans, credits on
     loans, stock redemptions, and options exercised?
     ❑No
     ✔Yes. Identify below.
     ❑
          Name and address of recipient                                            Amount of money or                 Dates                  Reason for providing
                                                                                   description and value of                                  the value
                                                                                   property

 30.1.   Wright, Jennifer                                                                              $2,800.00     12/2019                 Cash Distribution
         Name                                                                                                                                from Cattle Sale
         410 Spyglass Rd
         Street



         Mc Queeney, TX 78123-3418
         City                                      State          ZIP Code


          Relationship to debtor

         Member




Official Form 207                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                         page 13
                20-50805-rbk Doc#46 Filed 06/05/20 Entered 06/05/20 08:08:33 Main Document Pg 26 of
                                                         29
Debtor          KRISJENN RANCH, LLC, KRISJENN RANCH, LLC, Series Uvalde Ranch, KRISJENN                    Case number (if known)              20-50805
                RANCH, LLC, Series Pipeline Row
                Name


          Name and address of recipient                                     Amount of money or              Dates                   Reason for providing
                                                                            description and value of                                the value
                                                                            property

 30.2.   Kristal Cohle                                                                        $2,800.00     12/19/2019            Distribution from
         Name                                                                                                                     cattle sale.
         627 Williams Way
         Street



         New Braunfels, TX 78130
         City                                  State        ZIP Code


          Relationship to debtor

         Member

 31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
     ✔ No
     ❑
     ❑Yes. Identify below.
           Name of the parent corporation                                                      Employer Identification number of the parent corporation

                                                                                               EIN:          –




 32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
     ✔ No
     ❑
     ❑Yes. Identify below.
           Name of the pension fund                                                            Employer Identification number of the pension fund

                                                                                               EIN:          –

 Part 14: Signature and Declaration




Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 14
           20-50805-rbk Doc#46 Filed 06/05/20 Entered 06/05/20 08:08:33 Main Document Pg 27 of
                                                    29
Debtor      KRISJENN RANCH, LLC, KRISJENN RANCH, LLC, Series Uvalde Ranch, KRISJENN                                 Case number (if known)                20-50805
            RANCH, LLC, Series Pipeline Row
           Name


      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with a
      bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true and correct.


      I declare under penalty of perjury that the foregoing is true and correct.


      Executed on         06/04/2020
                      MM/ DD/ YYYY




           ✘ /s/ Larry Wright
               Signature of individual signing on behalf of the debtor



                Position or relationship to debtor
                               Manager



         Printed name                                Larry Wright



          Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
           ✔ No
           ❑
           ❑Yes




Official Form 207                                         Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                        page 15
20-50805-rbk Doc#46 Filed 06/05/20 Entered 06/05/20 08:08:33 Main Document Pg 28 of
                                         29
                           United States Bankruptcy  Court
                              Western District of Texas

 In re KRISJENN RANCH, LLC, KRISJENN RANCH, LLC, Series Uvalde Ranch,                              Case No. 20-50805
       KRISJENN RANCH, LLC, Series Pipeline Row
                                                                                                   Chapter. 11
                                     Debtor(s)


                                                      CERTIFICATE OF MAILING
 The undersigned hereby certifies that a true copy of the following document(s):

 Amended Schedules A/B and SOFA

 was(were) mailed to all persons in interest at the addresses set forth in the exhibit which is attached hereto, electronically or by first class mail,
 postage prepaid, on 06/05/2020.



  6/4/2020                                                                                 /s/ Ronald Smeberg
                                                                                          Ronald Smeberg
                                                                                          Bar Number: 24033967
                                                                                          111 W Sunset Rd
                                                                                          San Antonio, TX 78209-2632
                                                                                          Phone: (210) 664-5000
                                                                                          Email: ron@muller-smeberg.com



   Albert, Neely & Kuhlmann, LLP                   Angelina County Tax Assessor                          Bigfoot Energy Services, LLC
   1600 Oil & Gas Building                         606 E Lufkin Ave                                      312 W Sabine St
   309 W 7th St                                    Lufkin, TX 75901-0434                                 Carthage, TX 75633-2519
   Fort Worth, TX 76102-6900




   C&W Fuels, Inc.                                 CLEVELAND|TERRAZAS PLLC                               Davis, Cedillo & Mendoza, Inc.
   Po Box 40                                       Timothy Cleveland                                     755 E Mulberry Ave Ste 500
   Hondo, TX 78861-0040                            4611 Bee Cave Road, Suite 306 B                       San Antonio, TX 78212-3135
                                                   Austin, TX 78746




   DMA Properties, Inc.                            DUKE, BANISTER, RICHMOND, PLLC                        Granstaff Gaedke & Edgmon PC
   896 Walnut Street at US 123 BYP                 Jeffrey Duke                                          5535 Fredericksburg Rd Ste 110
   Seneca, SC 29678                                P.O. Box 175                                          San Antonio, TX 78229-3553
                                                   Fulshear, TX 77441




   Hopper's Soft Water Service                     Internal Revenue Service                              JOHNS &COUNSEL PLLC
   120 W Frio St                                   Po Box 7346                                           Christopher S. Johns
   Uvalde, TX 78801-3602                           Philadelphia, PA 19101-7346                           14101 Highway 290 West, Suite 400A
                                                                                                         Austin, TX 78737




   KRISJENN RANCH, LLC,                            Larry Wright                                          Longbranch Energy
   KRISJENN RANCH, LLC, Series                     410 Spyglass Rd                                       c/o DUKE BANISTER RICHMOND
   Uvalde Ranch, KRISJENN                          Mc Queeney, TX 78123-3418                             Po Box 175
   RANCH, LLC, Series Pipeline Row                                                                       Fulshear, TX 77441-0175
   410 Spyglass Rd
   Mc Queeney, TX 78123-3418


   McLeod Oil, LLC                                 Medina Electric                                       Medina's Pest Control
   c/o John W. McLeod, Jr.                         2308 18th St.                                         1490 S Homestead Rd
   700 N Wildwood Dr                               Po Box 370                                            Uvalde, TX 78801-7625
   Irving, TX 75061-8832                           Hondo, TX 78861-0370
20-50805-rbk Doc#46 Filed 06/05/20 Entered 06/05/20 08:08:33 Main Document Pg 29 of
    METTAUER LAW FIRM, PLLC                 29 Tax Assessor
                              Nacogdoches County            Rusk County Appraisal District
   c/o April Prince              101 W Main St Ste 100               107 N Van Buren St
   403 Nacogdoches St Ste 1      Nacogdoches, TX 75961-4820          Henderson, TX 75652-3113
   Center, TX 75935-3810




   Shelby County Tax Collector   Tenaha ISD Tax Assessor-Collector   Texas Comptroller of Public
   200 St. Augustine St.         138 College St                      Accounts
   Center, TX 75935              Tenaha, TX 75974-5612               Capitol Station
                                                                     Po Box 13528
                                                                     Austin, TX 78711-3528


   Texas Farm Store              Uvalco Supply                       Uvalde County Tax Assessor
   236 E Nopal St                2521 E Main St                      Courthouse Plaza, Box 8
   Uvalde, TX 78801-5317         Uvalde, TX 78801-4940               Uvalde, TX 78801
